
The Disciplinary Review Board having filed a certification of Board Counsel (DRB
*83717-348 and DRB 17-446) pursuant to Rule 1:20-17(e)(1) reporting that Francis Charles Babcock, Jr., of Jersey City, who was admitted to the bar of this State in 1990, has failed to pay the administrative costs assessed in connection with disciplinary proceedings that resulted in the imposition of discipline by Order filed January 10, 2019, and good cause appearing;
**242It is ORDERED that Francis Charles Babcock, Jr., be temporarily suspended from the practice of law pending payment in full of the assessed administrative costs and accrued interest as determined by the Disciplinary Review Board, effective July 8, 2019, and until further Order of the Court; provided, however, that this Order shall be vacated automatically if, the prior to the effective date of the suspension, the Disciplinary Review Board reports that payment in full has been made or that a satisfactory installment payment plan is in place and current; and it is further
ORDERED that if the respondent seeks to be heard on this matter, he shall file with the Clerk of the Court within ten days after the filed date of this Order a written request for the issuance of an Order to Show Cause; and it further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that Francis Charles Babcock, Jr., be restrained and enjoined from practicing law during the period of suspension and that respondent comply with Rule 1:20-20 governing suspended attorneys.
